             Case 5:23-mc-80015-EJD Document 1-5 Filed 01/13/23 Page 1 of 8




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 9 *Pro Hac Vice Application Forthcoming

10 Attorneys for Applicant FREDRIC N. ESHELMAN

11

12                                     UNITED STATES DISTRICT COURT
13                                   NORTHERN DISTRICT OF CALIFORNIA
14                                            SAN JOSE DIVISION
15

16   In re Ex Parte Application of                      CASE NO. 5:23-MC-80015
17   FREDRIC N. ESHELMAN,
                                                        DECLARATION OF DANIEL P. WATKINS IN
18   Applicant,                                         SUPPORT OF DR. ESHELMAN’S EX PARTE
                                                        APPLICATION FOR AN ORDER PURSUANT
19   For an Order Pursuant to 28 U.S.C. § 1782          TO 28 U.S.C. § 1782 GRANTING LEAVE TO
     Granting Leave to Obtain Discovery for Use in      OBTAIN DISCOVERY FOR USE IN FOREIGN
20   Foreign Proceedings.                               PROCEEDINGS
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     CASE NO. 5:23-mc-80015          WATKINS DECL. ISO EX PARTE APPLICATION PURSUANT TO 28 U.S.C. § 1782
                Case 5:23-mc-80015-EJD Document 1-5 Filed 01/13/23 Page 2 of 8




 1                                 DECLARATION OF DANIEL P. WATKINS

 2            I, Daniel P. Watkins, make this declaration pursuant to 28 U.S.C. § 1746 supporting the application

 3 of Dr. Fredric N. Eshelman (“Dr. Eshelman”) for a discovery Order pursuant to 28 U.S.C. § 1782

 4 requesting third party discovery from Google LLC (“Google”), to aid foreign litigation in Germany and/or

 5 India. I declare and state as follows:

 6            1.      I am a United States citizen, am over the age of 18, am sound of mind, and make this

 7 declaration on the basis of my personal knowledge and my review of publicly available information. My

 8 law firm has requested this honorable Court to permit us to serve in this action as counsel of record for

 9 Dr. Eshelman on a pro hac vice basis.

10            2.      I am a member in good standing of the bar of the Commonwealth of Virginia. I am a

11 partner at Clare Locke LLP, located at 10 Prince Street, Alexandria, Virginia, 22314.

12            3.      Petitioner Dr. Eshelman retained my law firm to submit this Application in connection with

13 his contemplated lawsuits in Germany and India against an anonymous person (referred to as “John Doe”

14 or “Doe”) who made a defamatory communication about Dr. Eshelman.

15            4.      The lawsuits arise from a December 4, 2022 email that was sent from a Google email

16 address to a number of Dr. Eshelman’s business associates and contacts at leading pharmaceutical and

17 technology companies. 1

18            5.      Dr. Eshelman initially retained my law firm to send legal correspondence to Doe, the holder

19 of the anonymous email address, demanding that Doe cease and desist harassing Dr. Eshelman and further

20 publicizing his defamatory allegations about Dr. Eshelman. 2

21            6.      I researched the phone number Doe used to call Eshelman Ventures and it returned to a

22 person that died before the messages concerning Dr. Eshelman were sent.

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         A copy of the Defamatory Email is attached to this Declaration as Exhibit 1.
     2
28       A copy of the Cease and Desist is attached to this Declaration as Exhibit 2.
                                                            1
     CASE NO. 5:23-mc-80015           WATKINS DECL. ISO EX PARTE APPLICATION PURSUANT TO 28 U.S.C. § 1782
             Case 5:23-mc-80015-EJD Document 1-5 Filed 01/13/23 Page 3 of 8




            I declare under penalty of perjury that the foregoing is true and correct. Executed on January 13,
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 2 2023 in Alexandria, VA.

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                                                                  Daniel P. Watkins
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     CASE NO. 5:23-mc-80015        WATKINS DECL. ISO EX PARTE APPLICATION PURSUANT TO 28 U.S.C. § 1782
Case 5:23-mc-80015-EJD Document 1-5 Filed 01/13/23 Page 4 of 8




           EXHIBIT 1
Case 5:23-mc-80015-EJD Document 1-5 Filed 01/13/23 Page 5 of 8
Case 5:23-mc-80015-EJD Document 1-5 Filed 01/13/23 Page 6 of 8




           EXHIBIT 2
            Case 5:23-mc-80015-EJD Document 1-5 Filed 01/13/23 Page 7 of 8




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                                            December 7, 2022

                                                             CONFIDENTIAL COMMUNICATION
                                                                     NOT FOR ATTRIBUTION
   Sent via Email

   “Terry Newsome”
   terrynewsomee@gmail.com

          Re:       Cease and Desist

   Mr. Newsome:
          My law firm is litigation counsel to Dr. Fredric N. Eshelman.
            It has come to our attention that you have been publishing false accusations about
   Dr. Eshelman, including the claim that he violated the law by “abus[ing] police resources” in
   Wyoming. These statements are demonstrably false and defamatory per se, and you have irreparably
   harmed Dr. Eshelman by publishing them to some of his closest business associates and professional
   contacts at leading pharmaceutical and technology companies. This exposes you to significant legal
   liability. In addition to defaming him, you have also made veiled threats against Dr. Eshelman and
   his family. We demand that you immediately cease and desist harassing Dr. Eshelman or further
   publicizing your libelous falsehoods.
           As you know, your accusations are completely baseless. Far from abusing police resources,
   Dr. Eshelman contacted the authorities after learning that three interlopers trespassed at his
   Wyoming property, Elk Mountain Ranch. Based on this wrongdoing, prosecutors then filed
   criminal charges against the three men a short time later. These facts are a matter of public record,
   and there is no indication or suggestion, whatsoever, that Dr. Eshelman’s conduct was somehow
   improper. But you intentionally disregarded these facts and falsely accused Dr. Eshelman of abusing
   public resources to disparage him and damage his professional standing.
           Dr. Eshelman has worked hard for his entire life to build the very relationships that you have
   unlawfully assaulted. Over the past eight decades he has earned a reputation as a responsible and
   ethical businessman and citizen. And he will not tolerate additional unlawful and unmerited attacks
   against his good name. Consequently, Dr. Eshelman is prepared to defend his family and his
         Case 5:23-mc-80015-EJD Document 1-5 Filed 01/13/23 Page 8 of 8




reputation to the fullest extent permitted under the law. This includes by filing suit against you and
issuing a subpoena to Google to obtain information sufficient to reveal your identity and location.
                                                 ***
         We trust that you will treat this matter with the seriousness Dr. Eshelman deserves. With
this letter, Dr. Eshelman further demands that you preserve all documents, emails, text messages,
correspondence, and all other data related to your false accusations and harassment campaign
against him. To avoid doubt, this letter constitutes a formal demand for retraction under all relevant
rules of court and statutory provisions.


                                                              Regards,




                                                              Daniel P. Watkins




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